











Opinion issued February 28, 2008










In The
Court of Appeals
For The
First District of Texas




NO. 01-07-01043-CV




IN RE ESTHER WARD, Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Relator, Esther Ward, filed a petition for writ of mandamus complaining of the
trial court’s


 November 14, 2007 order compelling relator to present herself for a
medical examination.  We deny the petition for writ of mandamus and vacate our
December 7, 2007 order staying the complained-of order of the trial court.
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM

Panel consists of Justices Taft, Keyes, and Alcala.





